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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
____________________________________
                                         )
CHOCTAW NATION OF OKLAHOMA, )
 a federally-recognized Indian Tribe     )
529 N 16th Ave.                          )
Durant, OK 74701                         )
                                         )
                        Plaintiff,       )
                                         )
                 v.                      )          Civil Action No. __________
                                         )
ALEX M. AZAR II,                         )
 in his official capacity as Secretary,  )
United States Department of Health       )
 and Human Services                      )
200 Independence Avenue, S.W.            )
Washington, D.C. 20201,                  )
                                         )
                        Defendant.       )
                                         )


            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                      INTRODUCTION

       1.      The Teen Pregnancy Prevention Program (TPPP) is a congressionally-mandated

program that funds evidence-based programs to prevent teen pregnancy. When created by statute

in 2009, TPPP was a major shift away from the abstinence-only approach to pregnancy

prevention that had been federal policy for decades and towards an evidence-based approach

focused on funding programs that could demonstrate success, regardless of methodology.

       2.      Plaintiff is among the recipients of five-year TPPP grants awarded in 2015 by the

Office of Adolescent Health (OAH), an office within the Department of Health and Human

Services (HHS). Plaintiff’s TPPP grant, No. 5 TP1AH000100-03-00, is for $1,175,000 annually.
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       3.      In May 2017, HHS announced that it wanted to terminate the TPPP in the next

fiscal year and sought no funding for the program in its 2018 budget request to Congress. HHS

then informed all TPPP grantees that their grants would be terminated effective June 2018—two

years ahead of the scheduled end dates. HHS provided no explanation for the early termination

of these grants.

       4.      Despite HHS’s request to zero-out funding for the TPPP, Congress appropriated

funds to continue the program through federal fiscal year 2018. Congress included a TPPP

appropriation of $107.8 million in the Consolidated Appropriations Act, 2018, which was signed

into law March 23, 2018.

       5.      HHS’s failure to provide a reasoned basis for the termination of plaintiff’s grant,

and termination of the grant in a manner contrary to HHS regulations, constitutes final agency

action that is arbitrary, capricious, and not in accordance with law, in violation of the

Administrative Procedure Act (APA), 5 U.S.C. § 706.

                                 JURISDICTION AND VENUE

       6.      This Court has jurisdiction under 28 U.S.C. § 1331, 28 U.S.C. § 1361, 28 U.S.C.

§ 2201, and 5 U.S.C. § 702.

       7.      Venue is proper in this district because a substantial part of the acts or omissions

giving rise to the claim occurred in this judicial district. 28 U.S.C. § 1391(e).

                                             PARTIES

       8.      Plaintiff Choctaw Nation of Oklahoma (Choctaw Nation) is the third largest

federally-recognized Native American Indian Tribe, with the second largest tribal service area

and land base in the lower 48 States, covering over 11,700 square miles in southeast Oklahoma

(larger than Massachusetts, Delaware, Rhode Island, and the District of Columbia combined).




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       9.       Defendant Alex Azar is the Secretary of HHS. His office is located in

Washington, D.C. He is sued in his official capacity.

                                             FACTS

       10.      In 2009, alarmed that teenage pregnancy rates had begun to rise after years of

decline, Congress mandated the creation of the TPPP, an evidence-based initiative to reduce teen

pregnancy. In the Consolidated Appropriations Act, 2010, Congress appropriated $110 million

to HHS for fiscal year 2010 and mandated that the funds “shall be for making competitive

contracts and grants to public and private entities to fund medically accurate and age appropriate

programs that reduce teen pregnancy and for the Federal costs associated with administering and

evaluating such contracts and grants.” Pub. L. No. 111-117, div. D, tit. II, 123 Stat. 3034, 3253.

       11.      Pursuant to its TPPP grant, plaintiff has established the Choctaw Nation SMART

(Set Morals And Resist Temptations) Program which provides evidence-based teen pregnancy

prevention education to students in areas with a great need – Oklahoma has the second highest

teen pregnancy rate in the United States, and the counties of Choctaw, McCurtain, and

Pushmataha have some of the highest teen pregnancy rates in the state of Oklahoma. SMART

uses age-appropriate, evidence-based curricula to teach middle school (6th – 8th grades), high

school (9th – 10th grades), and Alternative Education students to set personal goals,

communicate personal limits to others, and seek parental input to decisions as well as hard facts

about pregnancy and sexually transmitted disease prevention. Offered during school hours in

participating school districts, SMART lessons engage students with an active learning style,

games, and parent engagement on homework assignments. All participating students must have

parental consent to participate, and any data collected from youth is completely anonymous.




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        12.      Since the TPPP’s inception, HHS has provided funding through grants for five-

year project periods

        13.      In early 2015, HHS, through OAH, issued new Funding Opportunity

Announcements (FOAs) for grants for a new five-year project period. The FOAs provided that

the grants would be funded in annual increments (budget periods) and that funding for all budget

periods beyond the first year of the grant would be “contingent upon the availability of funds,

satisfactory progress of the project, and adequate stewardship of Federal funds.” The FOAs

further provided for grantees to submit noncompeting applications in each year of the approved

project period, providing progress reports for the current budget year, work plans, budgets, and

budget justifications for the upcoming year.

        14.      After reviewing nearly 500 applicants, in July 2015, HHS awarded approximately

80 five-year TPPP grants. Combined, the chosen programs were designed to serve more than 1.2

million youth across 38 states.

        15.      Consistent with the FOAs, plaintiff’s initial notice of award provided that the

“project period” for its grant was five years, from July 1, 2015, through June 30, 2020. Within

the project period were five “budget periods,” running from July 1 to June 30 of the following

year. The first notice of award was for the budget period from July 1, 2015, through June 30,

2016.

        16.      Consistent with program requirements, for each year of the project period after

the initial year, plaintiff submitted a non-competing continuation application for the next budget

period and required progress reports.

        17.      Plaintiff has complied with TPPP requirements throughout the project period of

its grant.




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       18.      In June 2016, plaintiff received a notice of award of the funds for the budget

period from July 1, 2016, through June 30, 2017. Like the 2015 notice, the 2016 notice of award

provided that the project period was through June 30, 2020.

       19.      In May 2017, following the change in Administration, HHS submitted its budget

request to Congress for the Fiscal Year (FY) 2018. In that request, HHS proposed to eliminate

the TPPP. HHS stated that “[t]he FY 2018 President’s Budget does not request funds for this

program” and “HHS will not make amounts available for Teenage Pregnancy Prevention

activities in FY 2018.” The request summarized the decision as follows: “The FY 2018

President’s Budget request is $0.00, a decrease of $100,808,000 from [] FY 2017 …. The Budget

eliminates the TPP program. The teenage pregnancy rate has declined significantly over recent

years, but it does not appear this program has been a major driver in that reduction.”

       20.      In early July 2017, plaintiff received a notice of award providing the full funding

that had been appropriated in FY 2017 for its third grant year. That notice also advised plaintiff

that the grant would terminate two years early, on June 30, 2018. Without further explanation,

the notice stated: “This award also shortens the project period to end on June 30, 2018 at the end

of this budget year.”

       21.      The other TPPP grantees received similar notices at the same time. HHS did not

give the grantees prior notice that their awards would be prematurely terminated.

       22.      On July 17, 2017, a spokesperson for the Office of the Assistant Secretary for

Health confirmed in an email to a reporter that the TPPP grants had been terminated based on

President’s fiscal year 2018 budget request to eliminate the program: “[T]he President’s FY 2018

Budget eliminated funding for the Teen Pregnancy Prevention Program, so our grants office

informed the grantees of their June 30, 2018 end date, to give them an opportunity to adjust their




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programs and plan for an orderly closeout.” Megan Molteni, Teen Pregnancy Researchers

Regroup After Trump’s HHS Pulls Funding, Wired (July 19, 2017 7:00 am),

https://www.wired.com/story/teen-pregnancy-researchers-regroup-after-trumps-hhs-pulls-

funding/.

                                       COUNT ONE
                                  VIOLATION OF THE APA

       23.      The APA authorizes this Court to hold unlawful and set aside final agency action

that is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5

U.S.C. § 706(2)(A).

       24.      HHS’s termination of plaintiff’s grant constitutes final agency action under the

APA.

       25.      HHS’s grant regulations set forth specific reasons why HHS may terminate an

award prior to the end of the planned period: (1) “if the non–Federal entity fails to comply with

the terms and conditions of the award”; (2) “for cause”; or (3) “with the consent of the non–

Federal entity.” 45 C.F.R. § 75.372(a). None of those conditions exists in this case.

       26.      HHS terminated plaintiff’s grant without explanation, and that termination was

contrary to HHS regulations governing termination prior to the end of the planned period.

       27.      HHS’s termination of plaintiff’s grant was arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.

                                    PRAYER FOR RELIEF

WHEREFORE, plaintiff prays that this Court:

       (A) Declare defendant’s termination of plaintiff’s TPPP grant unlawful;




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        (B) Set aside the termination of plaintiff’s TPPP grant and enjoin defendant to administer

that grant for the awarded five-year project period to the same extent and in the same manner as

prior to the unlawful termination, as provided in the notices of award and HHS regulations;

        (C) Enjoin defendant to accept and process plaintiff’s non-competing continuation

application for the next budget period as if it had not terminated plaintiff’s grant;

        (D) Award plaintiff its costs and reasonable attorney fees; and

        (E) Grant such other relief as this Court may deem just and proper.

                                             Respectfully submitted,

                                             HOLLAND & KNIGHT LLP

                                       By:                   /s/
                                             Steven D. Gordon (D.C. Bar No. 219287)
                                             Philip Baker-Shenk (D.C. Bar No. 386662)
                                             800 17th Street, N.W., Suite 1100
                                             Washington, D.C. 20006
                                             Tel: (202) 955-3000
                                             Fax: (202) 955-5564

                                             Attorneys for Plaintiff the Choctaw Nation




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